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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


   WI-LAN, INC.,                                  §
                                                  §
                            Plaintiff,            §
                                                  §
           v.                                     §        Civil Action No. 2:08-cv-247-TJW
                                                  §
   RESEARCH IN MOTION                             §        JURY TRIAL REQUESTED
   CORPORATION. RESEARCH IN                       §
   MOTION LTD., MOTOROLA, INC.                    §
   UTSTARCOM, INC., LG ELECTRONICS                §
   MOBILECOMM U.S.A., INC. LG                     §
   ELECTRONICS, INC., and PERSONAL                §
   COMMUNICATIONS DEVICES, LLC,                   §
                                                  §
                            Defendants.           §
                                                  §
                                                  §


         DEFENDANT PERSONAL COMMUNICATIONS DEVICES, LLC'S
    UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE CERTAIN EXPERT
                             REPORTS

           Defendant Personal Communications Devices, LLC ("PCD) files this unopposed

   motion for extension of time for one week to comply with the Court's order of January 20,

   2011 (Dkt. No. 278) requiring expert reports be filed by January 28, 2011 for parties with the

   burden of proof for '802 and '222 patents.

           The parties have agreed to extend PCD's deadline for submitting Dr. Matthew

   Shoemake's expert reports regarding (1) the invalidity of the '222 patent, and (2) the IEEE

   802.11 Standards Process to Friday, February 4, 2011. As the court is aware, Dr. Shoemake

   is unable to submit his reports due to an emergency medical-related issue (See, e.g., Wi-lan,




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   Inc. v. Acer Inc. (07-cv-474 E.D. Texas), Dkt. No. 1081). Dr. Shoemake requires additional

   time to recover from his surgery and complete his expert report.       Accordingly, PCD

   respectfully requests that the Court grant PCD's unopposed motion.

                                               Respectfully submitted,


   DATED: January 28, 2011                    _/s/ Eric H. Findlay________________
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                                  CERTIFICATE OF SERVICE
           The undersigned certified that on this 28 day of January 2011, counsel of record who

   are deemed to have consented to electronic service are being served with a copy of this
   document by electronic mail.


                                      By: /s/ Eric H. Findlay
                                               Eric H. Findlay




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